                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

  SCOTT ALLEN TOMEI,                            )
                                                )
                 Plaintiff,                     )
                                                )
  vs.                                           )       Docket No.: 3:19-CV-41
                                                )
  PARKWEST MEDICAL CENTER and                   )
  COVENANT HEALTH,                              )
                                                )
                 Defendants.                    )

                                 STIPULATION OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii), the parties hereby stipulate that they have

  compromised and settled all claims in this matter to the mutual satisfaction of the parties and that

  all of the claims that either have been asserted or that could have been asserted in the above-styled

  cause are dismissed with prejudice against the refiling of the same.

         Respectfully submitted this 27th day of April, 2022.


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